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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 GERARD TRAVERS                                 : CIVIL ACTION
                                                :
                       v.                       : NO. 19-6106
                                                :
 FEDEX CORPORATION                              :

                                            ORDER
        AND NOW, this 19th day of October 2021, upon further study of the Defendant’s

arguments for dismissal based upon a laches defense we found not necessary to address in our July

20, 2020 Opinion (ECF Doc. No. 52), Defendant’s Notice seeking we address its laches defense

following remand (ECF Doc. No. 56), following today’s oral argument, and for reasons addressed

at the close of oral argument and further addressed in the accompanying Memorandum, it is

ORDERED:

        1.       Defendant’s remaining laches argument included in its Motion to dismiss (ECF

Doc. No. 30) is DENIED without prejudice to be renewed consistent with today’s Order setting

pretrial and trial obligations; and,

        2.       Defendant shall file an Answer no later than October 26, 2021.



                                                     ________________________
                                                     KEARNEY, J.
